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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO. 17-61716-CIV-DIMITROULEAS/SNOW
  DANIEL MONCADA,

         Plaintiff,

  vs.

  LESLIE’S POOLMART, INC.,
  a foreign for-profit corporation,

        Defendant.
  _____________________________________/

                                      ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court sua sponte. On August 29, 2017, this Court entered its

  initial order, which required the parties to submit appropriate dismissal papers within ten (10)

  calendar days of notifying the Court that the case has settled. See [DE 5]. On November 16,

  2017, a Joint Notice of Settlement was filed. See [DE 12]. However, as of the date of this Order,

  a stipulation, notice, or motion for dismissal has not been filed with the Court.

         Accordingly, it is ORDERED AND ADJUDGED that no later than December 5, 2017,

  the parties shall either file the appropriate dismissal papers pursuant to Rule 41 of the Federal

  Rules of Civil Procedure or show cause why those papers have not been filed.


         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 28th day of November, 2017.




  Copies furnished to:
  Counsel of record
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